        Case 5:21-cv-04415-JLS Document 1 Filed 10/07/21 Page 1 of 11




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PENNSYLVANIA INFORMED                   :
CONSENT ADVOCATES, INC.                 :
                                        :
                           Plaintiff,   :
v.                                      :
                                        :    DOCKET NO.
UNIVERSITY OF PENNSYLVANIA              :
HEALTH SYSTEM                           :    JURY TRIAL DEMANDED
3400 Spruce Street                      :
Philadelphia, PA 19104                  :
                                        :
                                        :
                                        :
and                                     :
                                        :
                                        :
                                        :
SCOTT KETCHAM,                          :
United States Secretary of Labor        :
200 Constitution Avenue, N.W.           :
Washington, D.C. 20210                  :
                                        :
                                        :
                                        :
and                                     :
                                        :
                                        :
                                        :
                                        :
XAVIER BECERRA
                                        :
United States Secretary of
                                        :
Health and Human Services
                                        :
200 Independence Avenue, S.W.           :
Washington, D.C. 20210                  :
                                        :
                                        :
                        Defendants.     :
                                        :
            Case 5:21-cv-04415-JLS Document 1 Filed 10/07/21 Page 2 of 11




                                             COMPLAINT

          This is a civil action seeking damages against State actors for committing acts, under color

of law, which deprived Plaintiff of rights secured by the First and Fourteenth Amendments to the

United States Constitution, the laws of the United States, and the Constitution and laws of the

Commonwealth of Pennsylvania; for constitutional violations that arise out of University of

Pennsylvania Health System’s vaccine mandate; for Secretary of Labor Scott Ketcham and

Secretary of Health and Human Services Xavier Becerra conspiring to introduce regulations under

the Occupational Safety and Health Act to violate the First Amendment rights of all Americans by

compelling them to engage in political speech.

          This civil action arises out of the Defendants’ flagrant disregard for the constitutional rights

of American citizens in their attempt to compel vaccinations. Through the actions of Defendants’

and other non-party individuals and entities, vaccines have been politicized to a point where

receiving or declining a vaccine has become a political act in the eyes of the public, and being

compelled into discussing one’s vaccine status is compelling that person to engage in political

speech.

          By forcing its employees to disclose their vaccine status, University of Pennsylvania Health

System is acting as a state actor when compelling political speech in violation of the First

Amendment to the United States Constitution. By requiring workers across America to disclose

their vaccination status, Defendants Scott Ketcham and Xavier Becerra are forcing them to engage

in un-sought-out, and individually undesirable, political speech in violation of the first amendment.

                                            JURISDICTION

          1. This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 (federal

question jurisdiction).



                                                     2
           Case 5:21-cv-04415-JLS Document 1 Filed 10/07/21 Page 3 of 11




        2. This Court is authorized to grant declaratory judgment under the Declaratory Judgment

Act, 28 U.S.C. §§ 2201-02, implemented through Rule 57 of the Federal Rules of Civil Procedure.

        3. This Court is authorized to grant Plaintiffs’ prayer for temporary, preliminary, and

permanent injunctive relief pursuant to Rule 65 of the Federal Rules of Civil Procedure.

        4. Venue is proper in this district because Plaintiffs’ members suffered damages within

the jurisdiction of the Eastern District of PA.

                                             PARTIES

        5. Plaintiff is the Pennsylvania Informed Consent Advocates, Inc. (hereinafter referred to

as “Plaintiff.”

        6. Defendant University of Pennsylvania Health System (hereinafter referred to as

“UPHS”) is a network of hospitals that serve the Eastern Pennsylvania region.

        7. Defendant Scott Ketcham (hereinafter referred to as “Ketcham”), is the U.S. secretary

of labor who oversees the Occupational Safety and Health Administration (OSHA).

        8. Defendant Xavier Becerra (hereinafter referred to as “Becerra”) is the U.S. secretary of

Health and Human Services who oversees the Centers for Medicare and Medicaid Services (CMS).

        9. Plaintiff is a corporation formed by, and representing the interests of, employees and

former employees of UPHS. Plaintiff corporation was formed in Pennsylvania, and its principal

place of business is in Pennsylvania.

        10. Members of Plaintiff are medical professionals who have chosen, for various reasons,

to refuse vaccination, or have refused to disclose their COVID-19 vaccination status to others, and

UPHS seeks to coerce Plaintiff members to engage in political speech in compelling such

disclosure by threat to their livelihoods, and to the well-being and fiscal security of persons

dependent on Plaintiff members’ jobs for their survival.



                                                  3
          Case 5:21-cv-04415-JLS Document 1 Filed 10/07/21 Page 4 of 11




       11. Members of Plaintiff have sincere, bona fide beliefs in opposition to the vaccine which

are religious, quasi-religious, or personal in nature.

       12. All members of Plaintiff are employed by entities with 15 or more employees covered

by Title VII, which mandates the reasonable accommodation of sincere religious beliefs.

                                   FACTUAL BACKGROUND

       13. On or about March 25th, 2021, various federal agencies, including the departments of

Labor and Health and Human Services began publicity drives to encourage and entice private

corporations to act as government agents to require full vaccination as a condition to employment.

       14. These efforts have gradually ramped up in intensity culminating with President Joseph

R. Biden instructing government agencies overseen by Ketcham and Becerra (OSHA and CMS)

to draft regulations to require private businesses under their purview to mandate vaccination

against COVID-19 thereby making these businesses, if they were not already, government agents

and thus government “actors” under the law.

       15. The aforementioned mandates are expected to take effect sometime in the near future,

though extensive publicity, and the subsequent behavior of UPHS, has demonstrated clearly that

UPHS considers the coming formal regulation already de facto the law of the land.

       16. As an organization with over 100 employees, and a health care provider, UPHS has

become a government agent by anticipating and implementing the formal requirements outlined

by President Biden. UPHS adopted those requirements in anticipation of formal agency-authored

regulations in the future that will formalize what UPHS has already accepted is a presidential

decree that it mandate vaccination for all employees.

       17. Subsequent to the aforementioned publicity drive, on May 19th, 2021, UPHS began to

require all employees (including members of Plaintiff corporation) to fully vaccinate against



                                                  4
             Case 5:21-cv-04415-JLS Document 1 Filed 10/07/21 Page 5 of 11




SARS-CoV-2 before September 1, 2021 or face adverse employment action, up to and including

termination.

        18. UPHS then began a harassment/embarrassment/shaming campaign against all

unvaccinated employees which continues to this day.

        19. Pursuant to its threat to punish the unvaccinated, UPHS has formally dismissed or

terminated the contracts of a number of Plaintiff's members.

        20. Such corporate disciplinary action is arbitrary, is not easily appealed, and is not

narrowly tailored to fulfilling the goals of ending the COVID-19 pandemic.

                                         COUNT I
                              COMPULSION OF POLITICAL SPEECH

        21. Plaintiff incorporates by reference the preceding paragraphs as though the same were

set forth at length herein.

        22. The First Amendment to the U.S. Constitution enshrines the right to free speech for all

American citizens.

        23. The U.S. Supreme Court has long held that the right to free speech protects against

state actors compelling others to express speech, or act in a manner that is fundamentally political

in nature.

        24. The U.S. Supreme Court has long held that a private entity can become so involved

with or encouraged by the state that its conduct is held to be the equal of state action – with a

purported private entity standing in the shoes of the state to enforce the state’s will.

        25. UPHS became a state actor after following the deep and continuous encouragement of

various U.S. agencies including the president of the United States, the CDC, the FDA and the

EEOC.




                                                  5
          Case 5:21-cv-04415-JLS Document 1 Filed 10/07/21 Page 6 of 11




        26. Alternatively, UPHS became a state actor after following the deep and continuous

encouragement of Pennsylvania state officials encouraging private employers to require

vaccination.

        27. Alternatively, UPHS became a state actor after providing, administering, and requiring

federally-funded SARS-CoV-2 vaccinations.

        28. The determination of whether an act or a statement is “political” in nature is wholly

dependent on how society at large views such act or statement.

        29. Because of such dependence, what a society defines as “political” changes as collective

mores and sensitivities shift. Therefore, the list of acts and statements society considers “political”

is not cast in stone, but ever-changing during the lifespan of the Republic.

        30. It is entirely possible, for example, that a previously considered “political act” or

“political statement,” over time, to lose that political meaning. Conversely, it is also possible for

a previously apolitical act or statement to become controversial enough, and partisan enough, to

acquire a previously unconsidered political meaning.

        31. Disclosing one’s status as not vaccinated against the COVID-19 has become politicized

in such a way that the expressing of one’s opposition has acquired a political meaning: bringing

public derision down upon the individual or, in fewer instances, garnering public acclaim for the

individual, largely depending on the political beliefs of the public toward coerced governmental

action against its citizens.

        32. The above-mentioned fact can be proven objectively by showing the correlation

between COVID-19 vaccine hesitancy and political party affiliation, and subjectively by showing

political commentary acknowledging the partisan nature of the act of vaccination and attitude

toward forced vaccination.



                                                  6
          Case 5:21-cv-04415-JLS Document 1 Filed 10/07/21 Page 7 of 11




        33. Because of its intensely toxic political nature, disclosing one’s COVID-19 vaccination

status holds the intent, weight, and social effect of partisan political speech, and should be treated

as such by this Honorable Court.

        34. Therefore, state actor UPHS violated the First Amendment of the United States

Constitution when it compelled members of Plaintiff to engage in the fundamentally political act

of showing proof of COVID-19 vaccination as a pre-requisite for further employment or requiring

Plaintiff to disclose a member’s unvaccinated status in order to publicly stigmatize such members

by equating such a position with political “rightwing extremists,” or worse. Regardless, if the

member’s objection is religious or due to medical risk, the mandate seeks to require Plaintiff

members to make a political statement against their will, and potentially against their health and

well-being, and subjecting them to public ridicule and contempt.

        35. By advancing plans and encouraging employers such as UPHS to require employees to

disclose their COVID-19 vaccination status, Defendants Ketcham and Becerra are conspiring with

one another and UPHS to violate the First Amendment rights of Plaintiff’s members.

                             COUNT II
VIOLATION OF THE FREE EXERCISE CLAUSE OF THE FIRST AMENDMENT TO
                 THE UNITED STATES CONSTITUTION

        36. Plaintiff incorporates by reference the preceding paragraphs as though the same were

set forth at length herein.

        37. The Free Exercise Clause of the First Amendment to the United States Constitution

prohibits the State from abridging Plaintiff’s members rights to free exercise of religion.

        38. UPHS has a constitutional duty to grant reasonable religious exemptions to all

employees who held an honest, deeply held belief in opposition to COVID-19 vaccinations.




                                                  7
          Case 5:21-cv-04415-JLS Document 1 Filed 10/07/21 Page 8 of 11




       39. UPHS already had policies and procedures in place to review religious exemptions for

other vaccines, but chose instead to require new and far more restrictive applications for the

COVID-19 vaccine relative to other vaccines further demonstrating that UPHS is a willing

participant in the state’s infringement of the constitutional rights of its citizens. The First

Amendment exists as a check on the power of Congress to enforce the will of the Congress (and

the President) against American citizens. By application of the Fourteenth Amendment, those same

checks are imposed on state legislatures (and governors). The United States cannot subvert those

checks on it powers sought to be used against its own citizens by coopting agents into government

actors as it seeks to do here with UPHS acting the pawn.

       40. UPHS has made multiple formal statements to employees demonstrating the COVID-

19 “new” system for approving or denying religious exemptions to vaccination is arbitrary, could

result in employees who previously held a religious exemption relative to other vaccines to be

denied in the instance of the COVID-19 vaccine, because UPHS, in its role as government agent

advancing the government’s political agenda, needed the special COVID-19 religious exemption

policy to be special and distinct in order to limit or eliminate the granting of exemptions to further

advance the state’s interests.

       41. UPHS arbitrarily denied religious exemption applications from members of Plaintiff

corporation, despite the fact that members applying held longstanding, deeply felt religious beliefs

in opposition to vaccination for COVID-19.

       42. UPHS allowed hospital leadership to decide whether or not an employee holds a bona

fide, deeply held, religious belief in opposition to the COVID-19 vaccine, despite said leadership

being wholly unqualified by any objective measure to make such a determination.




                                                  8
          Case 5:21-cv-04415-JLS Document 1 Filed 10/07/21 Page 9 of 11




        43. UPHS inconsistently applied its religious exemption policies by being on-average more

willing to approve exemption applications from employees it saw as more valuable to their day-

to-day operations.

        44. UPHS thus violated the religious freedoms of members of Plaintiff guaranteed them by

the free exercise of religion clause of the First Amendment.

        45. By encouraging and pursuing to compel employers such as UPHS to require

vaccination without any religious exemption, Defendant Becerra conspired to violate the First

Amendment rights of Plaintiff’s members.

                             COUNT III
 VIOLATION OF THE RIGHTS TO PRIVACY AND BODY AUTONOMY FOUND IN
  THE FOURTEENTH AMENDMENT TO THE UNITED STATES CONSTITUTION

        46. Plaintiff incorporates by reference the preceding paragraphs as though the same were

set forth at length herein.

        47. The United States Supreme Court has long recognized a right to privacy and body

autonomy written into the Fourteenth Amendment to the U.S. Constitution.

        48. As state actors, UPHS, and Becerra hold a constitutional duty to not violate Plaintiff’s

members rights to privacy and body autonomy.

        49. By compelling employees to vaccinate under the threat of dismissal, UPHS violated

the Fourteenth Amendment rights of Plaintiff’s members.

        50. By encouraging and planning to compel employees to vaccinate under the threat of

dismissal, Becerra conspired and continues to conspire to violate the Fourteenth Amendment rights

of Plaintiff’s members.

                            COUNT IV
  WRONGFUL DISMISSAL IN VIOLATION OF PENNSYLVANIA PUBLIC POLICY




                                                 9
          Case 5:21-cv-04415-JLS Document 1 Filed 10/07/21 Page 10 of 11




        51. Plaintiff incorporates by reference the preceding paragraphs as though the same were

set forth at length herein.

        52. Pennsylvania law allows for courts to grant equitable and monetary relief when an at-

will employee’s dismissal violates public policy.

        53. UPHS’s arbitrary and discriminatory behavior has caused great psychological and

monetary harm to members of Plaintiff in a manner that clearly violates public policy through

disregard of Pennsylvania religious freedom law and compulsion of political speech.



                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter Judgment

in their favor and against Defendants and award Plaintiff the following relief:

                        a. An Order enjoining UPHS from continuing to require proof of COVID
                           vaccination     as     a     condition       for      employment;

                        b. An Order enjoining Becerra, and Ketcham from promulgating and
                           enforcing the planned regulations-at-issue as long as they are in
                           violation of the First and Fourteenth Amendments to the United States
                           Constitution.

                        c. An Order enjoining Becerra, and Ketcham form promulgating and
                           enforcing any vaccine regulation that would violate the First and
                           Fourteenth Amendments to the United States Constitution.

                        d. Award members of Plaintiff compensatory damages for their losses
                           caused by UPHS’s activities and employment back, if Plaintiff members
                           so desire;

                        e. Award Plaintiff their costs and counsel fees; and

                        f. Award any additional and further relief the Court deems appropriate.




                                                10
       Case 5:21-cv-04415-JLS Document 1 Filed 10/07/21 Page 11 of 11




                       VAN DER VEEN, HARTSHORN & LEVIN


                             BY:   /s/ Bruce L. Castor Jr.______
DATE: 10/5/2021                    Bruce L. Castor, Jr.
                                   Attorney for Plaintiff


                             BY:   /s/ Michael T. van der Veen______
DATE: 10/5/2021                    Michael T. van der Veen,
                                   Attorney for Plaintiff




                                     11
